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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )
                                    )
            v.                      )                 Civil Action No. 1:14 CV 664
                                    )
MEYER MANAGEMENT, INC.,             )                 Judge Timothy S. Black
                                    )
                  Defendant.        )
____________________________________)

                           CONSENT DECREE MODIFICATION

       The United States of America, on behalf of the United States Environmental Protection

Agency (“EPA”) and the Department of Housing and Urban Development (“HUD”), acting

through the undersigned counsel, states as follows:

       WHEREAS, on August 19, 2014, the United States filed this action against Meyer

Management, Inc. for violations of the Residential Lead-Based Paint Hazard Reduction Act of

1992, 42 U.S.C. §§ 4851-4856, and the Toxic Substances Control Act, 15 U.S.C. §§ 2601-2692

(“TSCA”). On the same day, the United States lodged a proposed Consent Decree to resolve the

claims asserted in the complaint. On October 6, 2014, after a period of public notice and

comment during which no comments were received, this Court entered the Consent Decree.

       WHEREAS, the Defendant has substantially complied with all terms of the Consent

Decree over the past six years. Specifically, Defendant has completed all work required under

Section VII of the Consent Decree on 124 out of 136 residential units listed in Appendix 1 to the

Consent Decree (“Subject Properties”).
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       WHEREAS, several of the tenants in the 12 Subject Properties where required work has

not been completed are unwilling to move out, even temporarily, during the current pandemic.

This and other difficulties have prevented Defendant from completing the work required. A brief

delay in completing this work, currently due on December 10, 2020, is justified to protect tenants

and provide them with ample time to vacate their units while work is being completed.

       WHEREAS, Plaintiff and Defendant (the “Parties”) have agreed to an extension of six

months to the deadline for completing all work required by Section VII.

       WHEREAS, any modification to the terms of the Consent Decree must be made in

writing and approved by the Parties and the Court, pursuant to Paragraph 45.

       WHEREAS, the Parties recognize, and the Court by entering this Consent Decree

Modification finds, that it has been negotiated at arms-length and in good faith and that this

Consent Decree Modification is fair, reasonable, and in the public interest.

       NOW, THEREFORE, it is hereby Ordered, Adjudged, and Decreed:

       1.      Except as specifically provided in this Consent Decree Modification, all

provisions of the original Consent Decree shall remain in full force and effect. No provision of

the original Consent Decree is modified, superseded, or altered in any way except as specifically

provided in this Consent Decree Modification.

       2.      Paragraph 16.E.(i) is modified to allow for Defendant to have an additional six

months to complete all work required by that provision. Specifically, the work required to be

conducted pursuant to Paragraph 16.E.(i) shall be completed by June 30, 2021.

       3.      The undersigned representative of Meyer Management and of the Assistant

Attorney General for the Environment and Natural Resources Division of the Department of

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Justice certifies that he or she is fully authorized to enter into the terms and conditions of this

Consent Decree Modification and to execute and legally bind such Party to this document.

       4.      This Consent Decree Modification may be executed in counterparts.

SO ORDERED.

               Dated and entered this     5              November
                                                 day of ______________, 2020




                                                   s/Timothy S. Black
                                               __________________________________
                                               TIMOTHY S. BLACK
                                               UNITED STATES DISTRICT JUDGE




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THE UNDERSIGNED PARTY enters into this Consent Decree Modification in the matter of
United States v. Meyer Management, Inc., Civil Action No. 14-664 (S.D. Ohio).


                                       FOR THE UNITED STATES OF AMERICA

                                       KAREN S. DWORKIN
                                       Deputy Chief
                                       Environmental Enforcement Section
                                       Environment and Natural Resources Division



                                       ___________________________________
                                       MICHAEL J. ZOELLER
                                       Senior Counsel
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                                       Environment and Natural Resources Section
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                                       Washington, D.C. 20530

                                       DAVID M. DeVILLERS
                                       United States Attorney
                                       Southern District of Ohio



                                         s/ Matthew J. Horwitz
                                       ____________________________________
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                                       Civil Chief
                                       ANDREW M. MALEK (0061442)
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                                  FOR THE UNITED STATES DEPARTMENT OF
                                  HOUSING AND URBAN DEVELOPMENT

                                              Digitally signed by: JOHN SHUMWAY

                                   JOHN       DN: CN = JOHN SHUMWAY C = US O
                                               = U.S. Government OU = Department
                                              of Housing and Urban Development,

                                   SHUMWAY    Office of General Counsel

                                  ___________________________________
                                              Date: 2020.11.02 09:58:41 -05'00'



                                  JOHN B. SHUMWAY
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                                  FOR THE UNITED STATES ENVIRONMENTAL
                                  PROTECTION AGENCY



                                   s/ Mary T. McAuliffe
                                  ___________________________________
                                  MARY T. McAULIFFE
                                  Associate Regional Counsel
                                  U.S. Environmental Protection
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